(Page 2 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

PRESCOTT LOVERN, SR.
15 E. Churchville Rd., STE 150
Bel Air, MD 21014
(941)~870-8072

 

(Page 3 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

the State of Maryland. Plaintiff is the Master of this complaint and he files a single-count

complaint seeking only a declaratory judgment

ctlon is appropriate m pursuant to TITLE 3 - COURTS OF GENERAL
IURISDICTION - IURISDICTION/SPECIAL CAUSES OF ACTION, Subtitle 4 - §3-403;

3

 

 

(Page 4 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_7._INIERGHANGE FEE
_idgodeWammmedcmd. Inc. (NBI) was organized f with I`)ee Hock as

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

allowed tilianc‘P

 

 

. .

9. BUA QXQQQUVQS and l;iQQK MLC QQQQQILQ(.I about the QQI}S]JU]¢{S Mlllngl]¢$§ 10 usc fhc

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_IMCMMMMQMMWy the 1b

 

 

 

 

 

 

143

 

 

 

 

 

 

 

 

 

 

 

(Page 5 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

purugrupn i'.

 

71
IW! €.lh) ['Llrg()

 

 

 

 

 

 

 

 

 

 

 

_cpnsoirdatedamendedwmpl` aint, page 2 paragraph 1'0`. “Wachovia` lacks

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Page 6 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3‘) Imerc‘nange Fee - Paid bv the C" "DIT CAiu) taranolnec,xepll);ntne;;nmm_

Ar\r\

CAqu issuing Bani<.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

erc mi s

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U*l

 

 

 

 

 

 

 

 

 

 

 

 

 

(Page 7 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

:_S_tm u ` - “ ‘ACQUI`TI'HE Ba?ffk meanwl…rson au orize bv Ma§fef€jfar or V_tb_isa

l '.I.‘ .Il `

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Page 8 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

16. The IF has always been paid by the CREDIT CARD Cardholcler, proven by IFs reflected

on CREDIT CARD issuing banks financial statements, physical evidence, all corroborated by

investigations by the House Antitrust Task Force et al;

“Consumers Pav for Interchange - All consumers shoulder the burden of

 

(Page 9 of 13 - This print header can be changed using the printHeader HTML tag - see the viewON'E HTML manual for further information)

 

 

“Finally, figure 3 provides a basic illustration of the most complex model,
the model with one card association1 many cardholders, many merchants,
and multiple banksl In this model, the card association (or network) plays
an important role by imposing rules for issuing cards, clearing and settling
transactions, advertising and promoting the brand, authorizing
transactions, assessing fees, and allocating revenues among transaction
participants Further, each participant in the credit card transaction has an

 

(Page 10 of 13 - This print header can be changed using the printHeader HTML tag - see the viewONE HTML manual for further information)

on a percentage or transactions, and the percentage often
varies depending on whether purchases were made with the co-branding party or another
entity. The institution benefits from a co-branding arrangement because it generally
increases credit card receivables, and accordingly interest and interchange income, due to
the consumers' willingness to use the credit card more frequently to reap the financial
rewards. However, institutions typically face the risk that higher cardholder monthly
payment rates could erode profits Nevertheless, for some programs the considerable
volume of interchange income generated by high cardholder transaction volumes might

 

(Page 11 of 13 - This print header can be changed using the printHeader HTML tag - see the viewONE HTML manual for further information)

who pays the IF is inconsistent with the Maryland Constitution and the Maryland Declaration of

Rights, Defendants’ current position is that the MasterCard credit card cardholder does not pay

the IF. Plaintiff’s position is that the MasterCard credit card cardholder does pay the IF, and the

cardholder has no idea what that amount is on each MasterCard credit card transaction

 

(Page 12 of 13 - This print header can be changed using the printHeader HTML tag - see the viewONE HTML manual for further information)

 

are true to the best of my knowledge, information and belief

Respectfully submitted on this g$_th_ day of September, 2017_

 

